          Case 4:07-cv-05944-JST Document 2315 Filed 01/10/14 Page 1 of 7



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16                                UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
18                                       SAN FRANCISCO DIVISION
19
     IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
20   ANTITRUST LITIGATION,                           MDL No. 1917

21                                                   AMENDED STIPULATED
     This Document Relates to:                       ADMINISTRATIVE MOTION TO
22                                                   CONSIDER WHETHER CASES SHOULD
     Alfred H. Siegel v. Technicolor SA, et al.,     BE RELATED (Civil Local Rules 3-12 & 7-
23   No. 13-cv-05261-SC                              11)

24   Sears, Roebuck and Co., et al. v. Technicolor   [Proposed] Order Granting Defendants’
     SA, et al., No. 13-cv-05262-SC                  Administrative Motion to Relate Cases Filed
25                                                   Concurrently Herewith
     Best Buy Co., Inc., et al. v. Technicolor SA,
26   et al., No. 13-cv-05264-SC

27   Target Corp. v. Technicolor SA, et al., No.
     13-cv-5686-SC
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     STIPULATED MOTION TO CONSIDER                                     No. 07-5944-SC; MDL No. 1917
     WHETHER CASES SHOULD BE RELATED
             Case 4:07-cv-05944-JST Document 2315 Filed 01/10/14 Page 2 of 7



 1            In accordance with Civil Local Rules 3-12 and 7-11 of this Court, Plaintiffs Alfred H. Siegel

 2   (as Trustee of the Circuit City Stores, Inc. Liquidating Trust), Sears, Roebuck and Co., Kmart

 3   Corp., Best Buy Co., Inc., Best Buy Purchasing LLC, Best Buy Enterprise Services, Inc., Best Buy

 4   Stores, L.P., BestBuy.com, LLC, Magnolia Hi-Fi, LLC, and Target Corp. (all collectively,

 5   “Plaintiffs”) and Defendants Technicolor SA 1 (f/k/a Thomson SA) and Technicolor USA, Inc. (f/k/a

 6   Thomson Consumer Electronics, Inc.) (collectively the “Thomson Defendants”) and Mitsubishi

 7   Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and Mitsubishi Electric &

 8   Electronics USA, Inc. (collectively the “Mitsubishi Electric Defendants”) submit this Amended 2

 9   Stipulated Administrative Motion to Consider Whether Cases Should Be Related concerning the

10   matters entitled Alfred H. Siegel v. Technicolor SA, et al., Case No. 13-cv-05261-SC, Sears,

11   Roebuck and Co., et al. v. Technicolor SA, et al., Case No. 13-cv-05262-SC, Best Buy Co., Inc., et

12   al. v. Technicolor SA, et al., Case No. 13-cv-05264-SC, and Target Corp. v. Technicolor SA, et al.,

13   Case No. 13-cv-05686-SC.

14            SUBJECT TO THE COURT’S APPROVAL, THE PARTIES STIPULATE AND AGREE

15   AS FOLLOWS:

16            WHEREAS, on November 12, 2013, Plaintiff Alfred H. Siegel filed a complaint entitled

17   Alfred H. Siegel v. Technicolor SA, et al., Case No. 13-cv-05261-SC, alleging antitrust claims

18   against the Thomson Defendants and Mitsubishi Electric Defendants in United States District Court

19   for the Northern District of California (Ex. A);

20            WHEREAS, on November 13, 2013, Plaintiffs Sears, Roebuck and Co. and Kmart Corp.

21   filed a complaint entitled Sears, Roebuck and Co., et al. v. Technicolor SA, et al., Case No. 13-cv-

22   05262-SC, alleging antitrust claims against the Thomson Defendants and Mitsubishi Electric

23   Defendants in United States District Court for the Northern District of California (Ex. B.);

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26     By joining in this Stipulation, Thomson SA does not waive its right to assert any defense to any
     claim asserted by the Plaintiffs, including, without limitation, that Thomson SA is not subject to the
27   personal jurisdiction of this Court.
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28       The stipulation reflected herein was reached before Dkt. No. 2306 was filed.
     STIPULATED MOTION TO CONSIDER                 1                         No. 07-5944-SC; MDL No. 1917
     WHETHER CASES SHOULD BE RELATED
          Case 4:07-cv-05944-JST Document 2315 Filed 01/10/14 Page 3 of 7



 1          WHEREAS, on November 13, 2013, Plaintiffs Best Buy Co., Inc., Best Buy Purchasing

 2   LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P., BestBuy.com, LLC, and Magnolia

 3   Hi-Fi, LLC filed a complaint entitled Best Buy Co., Inc., et al. v. Technicolor SA, et al., Case No.

 4   13-cv-05264-SC, alleging antitrust claims against the Thomson Defendants and Mitsubishi Electric

 5   Defendants in United States District Court for the Northern District of California (Ex. C);

 6          WHEREAS, on December 9, 2013, Plaintiff Target Corp. filed a complaint entitled Target

 7   Corp. v. Technicolor SA, et al., Case No. 13-cv-05686-SC, alleging antitrust claims against the

 8   Thomson Defendants and Mitsubishi Electric Defendants in United States District Court for the

 9   Northern District of California (Ex. D); and

10          WHEREAS, pursuant to Civil Local Rule 3-12(a), each of Plaintiffs’ complaints against the

11   Thomson Defendants and Mitsubishi Electric Defendants are related to the cases being adjudicated

12   in In re Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 07-cv-5944-SC (MDL No. 1917).

13          NOW, THEREFORE, PURSUANT TO LOCAL RULE 7-11, THE PLAINTIFFS, THE

14   THOMSON DEFENDANTS, AND THE MITSUBISHI ELECTRIC DEFENDANTS, BY AND

15   THROUGH THEIR RESPECTIVE COUNSEL OF RECORD, HEREBY STIPULATE AS

16   FOLLOWS

17          1.      The Plaintiffs’ complaints filed in Alfred H. Siegel v. Technicolor SA, et al., Case

18   No. 13-cv-05261-SC; Sears, Roebuck and Co., et al. v. Technicolor SA, et al., Case No. 13-cv-

19   05262-SC; Best Buy Co., Inc., et al. v. Technicolor SA, et al., Case No. 13-cv-05264-SC; and Target

20   Corp. v. Technicolor SA, et al., Case No. 13-cv-05686-SC should be related to In re Cathode Ray

21   Tube (CRT) Antitrust Litigation, Case No. 07-cv-5944-SC (MDL No. 1917).

22          IT IS SO STIPULATED.

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     STIPULATED MOTION TO CONSIDER                  2                       No. 07-5944-SC; MDL No. 1917
     WHETHER CASES SHOULD BE RELATED
          Case 4:07-cv-05944-JST Document 2315 Filed 01/10/14 Page 4 of 7



 1   Dated: January 9, 2013                 Respectfully submitted,
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     STIPULATED MOTION TO CONSIDER      3                        No. 07-5944-SC; MDL No. 1917
     WHETHER CASES SHOULD BE RELATED
         Case 4:07-cv-05944-JST Document 2315 Filed 01/10/14 Page 5 of 7


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     STIPULATED MOTION TO CONSIDER     4                        No. 07-5944-SC; MDL No. 1917
     WHETHER CASES SHOULD BE RELATED
         Case 4:07-cv-05944-JST Document 2315 Filed 01/10/14 Page 6 of 7


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     STIPULATED MOTION TO CONSIDER     5                         No. 07-5944-SC; MDL No. 1917
     WHETHER CASES SHOULD BE RELATED
          Case 4:07-cv-05944-JST Document 2315 Filed 01/10/14 Page 7 of 7


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23          Pursuant to Local Rule 5-1(i)(3), the filer attests that concurrence in the filing of this

24   document has been obtained from the above signatories.

25   Dated: January 9, 2013                     By: /s/ Jeffrey S. Roberts

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     STIPULATED MOTION TO CONSIDER              6                        No. 07-5944-SC; MDL No. 1917
     WHETHER CASES SHOULD BE RELATED
